                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                         HARRISONBURG DIVISION



CONSUMER FINANCIAL
PROTECTION BUREAU, et al.,
                                           No.: 5:2l-cv-00016-EKD-JCH
                    Plaintiff,

             V.


NEXUS SERVICES, INC., et al.,

                         Defendants.

                  DECLARATION OF VINCENT J. SMITH


VINCENT J. SMITH, declares as follows pursuant to 28 U.S.C. § 1746:


1. I have extensive experience in crisis management, immigration, and the bond

   industry. I have had multiple communications with Nexus Services, Inc. and

   Libre by Nexus, Inc. (the "Companies") regarding the state of the Companies,

   this litigation, and the purchase of all assets of the Companies while assuming

  the obligations of the Companies under the Court's Amended Judgment and

   Order; moreover, I have begun a due diligence process and have gained

  knowledge of the state ofbusiness, financial, and legal affairs at the Companies.
2. I have personal knowledge of all averred herein and nothing prevents me frmn

   making the instant Declaration.

3. Over the Course of approximately one week, I have had multiple telephonic and

   personal meetings with the Companies' representatives and have agreed to

   certain terms in a letter of intent, a true and correct copy of which is attached

   hereto as Exhibit A, for the purchase of the Companies.

4. Currently, I am engaged in due diligence and determining the exact position of

   the Companies, specifically as it relates to their legal position, necessary

   management and policy reforms required to ensure compliance with various

   legal obligations, and evaluating the exact extent of internal restructuring that

   will be required to maximize the chances that the Companies may continue as

   going concerns to the conclusion of litigation after I acquire the Companies.

5. Pursuantto the Letter of Intent, a sale should occur by April 17, 2024, at the

   latest. I do, however, have great concerns for the Companies' survival even

   over this very short term.

6. Particularly, I believe that the Companies may be adversely affected by various

   reporting requirements which may prove extremely difficult to comply with

   while due diligence is ongoing, and until I fully understand the state of affairs.

   Further, injunctive measures which may require the transfer of cap ital currently
   held and prohibit entirely the receipt of incoming revenue are of great concern

   to the Companies short-term survival.

7. I have every intent, assuming I acquire the Companies. to in short order, within

   the45-days requested, implement internal restructuring which should not only

   ensure compliance with reporting and record keeping requirements, but also

   ease post-judgment proceedings and place the Plaintiffs in a better position

   should any appeal taken not be successful.

8. I sincerely believe that absent a stay, as requested, the sale of the Companies

   may prove either impossible or be economically unviable. Even now, the

   assumption of the vast liabilities of the Companies makes the purchase for a

   nominal amount an extremely risky investment.

9. On information and belief, absent new ownership, the Companies will fail and

   it will likely be completely impossible for any Plaintiffs to recover any of the

   substantial damages, civil penalties, and restitution owed by the Companies.

   Moreover,absent a stay it is unclear whether I would be willing to purchase the

   business, either personally or through an entity, whether I could successfully

   restructure the business with the additional difficulties put in place by certain

   aspects of the injunctive relief ordered, and whether the businesses could

   survivethrough the initial restructuring process while complying with certain

   injunctive orders over the short term, i.e., 30 to 60 days.
10.Oninformationandbelief, thesaleoftheCompaniespresents           a net gain for all

   involved and represents the only realistic path for meaningful recovery and

   corporate survival; without a stay it is unclear that either: (a) I would agree to

  purchase the Companies, especially if its legal and financial position became

   more dire; (b) that the business could survive in the very short term after

   acquisitionwerel to purchase the Companies; (c) there would be any entities

   with solvency from which to recover or who could comply with the Court's

   injunctive orders.


Under the terms of 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct. Executed this 11th day of April 2024,

                 , PA.




      VINCENT J. SMITH
